Case 2:05-cr-20183-SH|\/| Document 13 Filed 06/15/05 Page 1 of 2 Page|D 12

 

IN THE UNITED sTATES DISTRICT CoURTW- el
FoR THE WESTERN DISTRICT oF TENNESSEE

 

 

 

 

 

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-'1._ ‘o‘. 3. D|ST. C“¢“.
UNITED STATES OF AMERICA ita W. FJ C=!,~ ftl MEE¢?P'J3H
V.
FREDERICK GWYNN 05cr20183-01-Ma
ORDER ON ARRAIGNMENT
This cause came to be heard on Q¢M¢ g ¢5¢ ZQQ§ the United States Attorney
for this district appeared on behalf of the go emment, and the defendant appeared in person and With
counsel:
NAME \-/7, /Ji¢/L/HM/f Who is Retainedeppointed.
' ”' J "'"°”

The defendant, through conn sel, waived formal arraignment and entered a plea of not guilty.

All motions shall be filed Within thirty (30) days from the date hereof unless, for good eause
shown to a District Judge, Such period is extended

The defendant, Who is not in custody, may stand on his present bond.
l-/"fhe defendant, (not ha\;Y/ma’de bond) (being Wner) (being a federal
prisoner) (being held Without nd pursuant to BRA of 84), is remanded to the custody

of the U. S. Marshal. M

UNITED STATES MAGISTRATE ]UDGE

CHARGES: felon in possession of a firearm - 18:922(g)
Attorney assigned to Case: G. Gilluly

Age: 3 1

 

Notice of Distribution

This notice confirms a copy of the document docketed as number l3 in
case 2:05-CR-20183 Was distributed by faX, mail, or direct printing on
June 16, 2005 to the parties listed.

 

 

PDA

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Honorable Samuel Mays
US DISTRICT COURT

